Case 1:18-cv-00133-TH-ZJH Document 48 Filed 01/12/21 Page 1 of 1 PageID #: 242



                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF TEXAS

                                   BEAUMONT DIVISION

ELIJAH BURKE SWALLOW                            §

VS.                                             §                CIVIL ACTION NO. 1:18cv133

JEFFERSON COUNTY CORR. FACILITY                 §

                     ORDER ADOPTING THE MAGISTRATE JUDGE’S
                         REPORT AND RECOMMENDATION

       Plaintiff Elijah Burke Swallow, proceeding pro se, brought this civil rights lawsuit. The

Court referred this matter to the Honorable Zack Hawthorn, United States Magistrate Judge. The

Magistrate Judge has submitted a Report and Recommendation of United States Magistrate Judge.

The Magistrate Judge recommends that the lawsuit be dismissed for failure to state a claim upon

which relief may be granted.

       The Court has received and considered the Report and Recommendation of United States

Magistrate Judge, along with the record and pleadings. No objections were filed to the Report and

Recommendation.

                                            ORDER

       Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

and the report of the Magistrate Judge is ADOPTED as the opinion of the Court. A final judgment

shall be entered in accordance with the recommendation of the Magistrate Judge.

      SIGNED this the 12 day of January, 2021.




                                    ____________________________
                                    Thad Heartfield
                                    United States District Judge
